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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                           (S4) 23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                   ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

       IT IS HEREBY ORDERED that there will be a conference on April 11 at 11 :00 a.m. in
Courtroom 23A for the Court to render its decisions on the pending motions.


Dated: New York, New York
       April 9, 2024

                                                     SO ORDERED:
